        CASE 0:20-cv-02554-ECT-JFD Doc. 81 Filed 07/01/22 Page 1 of 12




                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MINNESOTA

 CENTER FOR BIOLOGICAL
 DIVERSITY,

                Plaintiff,

        v.

 SARAH STROMMEN, in her official
 capacity as Commissioner of the Minnesota          CASE NO. 20-2554-ECT-JFD
 Department of Natural Resources,               DECLARATION OF JOHN D. ERB
                                                  IN SUPPORT OF THE DNR’S
                Defendant,                      RESPONSE TO THE TRAPPERS’
                                                OBJECTION TO THE CONSENT
 and                                                      DECREE

 MINNESOTA TRAPPERS
 ASSOCIATION, NATIONAL TRAPPERS
 ASSOCIATION, AND FUR TAKERS OF
 AMERICA, INC.

              Defendant-Intervenors.

       I, John D. Erb, hereby declare as follows pursuant to 28 U.S.C. § 1746:

       1.    I am a Wildlife Research Scientist for the Division of Fish and Wildlife,

Minnesota Department of Natural Resources (“DNR”). I office at 1201 East Highway 2,

Grand Rapids, Minnesota, 55744. I have been a Wildlife Research Scientist for DNR since

October 1998.

       2.    I hold a Ph.D. in Zoology and Physiology from the Department of Zoology

and Physiology of the University of Wyoming. My Master’s Degree in Wildlife Ecology

was obtained from the University of Missouri Columbia. My Bachelor of Science degree

in Fisheries and Wildlife Biology was obtained from Iowa State University.
        CASE 0:20-cv-02554-ECT-JFD Doc. 81 Filed 07/01/22 Page 2 of 12




       3.     Since 2001, as a Wildlife Research Biologist for the DNR, I have coordinated

wolf and furbearer population monitoring and research activities, among other related

duties. I also coordinate or am involved in DNR’s data collection and publication of annual

harvest reports that include harvest of furbearers by trapping, and I am very involved in

discussions and decisions regarding trapping seasons and regulations for all furbearers.

       4.     In addition to my primary job responsibilities, I have been a member of the

Association of Wildlife Agencies (“AFWA”) U.S. Furbearer Conservation Technical

Work Group (“TWG”) for approximately 20 years and served as the Chair of the TWG for

the past six years. The TWG, among other tasks, has worked for 25 years conducting

research on trap performance pursuant to international standards and commitments, and

ultimately the development of Best Management Practices for Trapping (“BMPs”). This

includes research on the performance of foothold traps, live-restraining snares or “cable

restraints”, foot snares, and cage traps on nearly all furbearer species in the U.S. The TWG,

including myself, was also involved in the original development of the brochure entitled

“How to Avoid the Incidental Take of Lynx.” Attached as Exhibit 1 is a true and correct

copy of “How to Avoid the Incidental Take of Lynx.”

       5.     I have also been an avocational trapper for 40 years and have trapped

numerous species in 4 different states. In addition, I have used traps of various types in

the live capture of wildlife for research for over 20 years.

       6.     I served as an expert witness in Animal Prot. Inst. v. Holsten, Civil No. 06-

3776 (MJD/RLE) (D. Minn.), and I was involved in the development of the Proposal of the

DNR to Restrict, Modify, or Eliminate the Incidental Take of Canada Lynx that was
        CASE 0:20-cv-02554-ECT-JFD Doc. 81 Filed 07/01/22 Page 3 of 12




prepared in response to Judge Davis’s order in that litigation. Among other things, the

regulatory changes in 2008 included the establishment of the Lynx Management Zone,

which is “[t]hat portion of the state lying north and east of a line beginning at U.S. Highway

53 at the east boundary of the state, thence along U.S. Highway 53 to the north boundary

of the state,” Minn. R. 6234.1000, subp. 5, and several trapping rules within the Lynx

Management Zone that were designed to reduce take and mortality risk to Canada lynx

from the trapping of other species.

       7.     I have been involved in developing the additional trapping rules that appear

in Paragraph 6(a)-(e) of the Proposed Consent Decree in this current lawsuit. I am also

involved in the DNR’s current effort to obtain an incidental take permit related to Canada

lynx from the U.S. Fish and Wildlife Service (“USFWS”).

       8.     I maintain a database of information provided from numerous sources,

including DNR and USFWS enforcement authorities, on the take and mortality of Canada

lynx in the State of Minnesota through trapping, hunting, railroad and highway kills. Based

on that data, I have prepared the following tables on take frequency and death frequency

before and after the DNR implemented the court-ordered regulatory changes in 2008 (i.e.,

2002-2007 v 2008-2020).

                                Average # of Takes/Year
                                2002 to 2007                   2008 to 2020
 Bodygrip traps                 0.83                           0.08
 Foothold traps                 0.67                           0.62
 Snares                         0.83                           0.46
 Total                          2.33                           1.23

                                Average # of Deaths/Year
                                2002 to 2007                   2008 to 2020
        CASE 0:20-cv-02554-ECT-JFD Doc. 81 Filed 07/01/22 Page 4 of 12




 Bodygrip traps                 0.33                           0.00
 Foothold traps                 0.17                           0.08
 Snares                         0.50                           0.50
 Total                          1                              0.54

       9.     The above data shows both the rarity and reduction of takes, and near

elimination of mortalities, since 2008.      My professional opinion was that the most

appropriate focus for any attempts to further reduce mortality risk for accidentally captured

lynx was on snaring regulations. After the previous regulatory changes were made in 2008,

mortality associated with snares has averaged one death every other year, with the only

other mortality in 13 years being associated with apparent injury or stress associated with

release of a single lynx restrained in a foothold trap.

       10.     “Cable restraints” are snares modified in their design and/or placement with

the intent of changing the performance from lethal to non-lethal. There is no “official”

definition of what constitutes a “cable restraint,” but numerous features or setting methods

have been identified from existing research and expert opinion that appear to reduce the

lethality of snares when desired. These features are summarized in a document that I

(primarily) authored entitled “Modern Snares for Capturing Mammals: Definitions,

Mechanical Attributes, and Use Considerations” on behalf of AFWA and the TWG after

review of scientific literature, consultation with biologists in other states, and discussion

with expert trappers and snare manufacturers. A true and correct copy of the article is

attached as Exhibit 2 to this declaration.

       11.    Based on 1) experiences relayed to me from biologists in other states where

cable restraints are required for various reasons, 2) Best Management Practices (“BMP”)

trap performance research I have been involved with for 20 years, and 3) personal
        CASE 0:20-cv-02554-ECT-JFD Doc. 81 Filed 07/01/22 Page 5 of 12




experience with live restraint of several species for research, the use of “cable restraints”

will reduce the mortality risk to lynx accidentally captured in cable devices. Although we

lack scientific data on performance of cable restraints on lynx, we now have increasing

data on numerous other species (bobcats, coyotes, foxes, raccoons, etc.), which supports

my opinion. In addition, DNR successfully uses cable restraints to live-capture wolves for

research in winter.

       12.    Regulatory changes associated with snares in the Lynx Management Zone

following the 2008 lawsuit had components designed to reduce both the capture and

mortality of lynx in snares. These included: 1) prohibition of thinner diameter cables

(thought to reduce constriction potential and mortality risk); 2) preventing placement of

snare loops smaller than 8” diameter (thought to reduce risk of a neck catch [mortality risk]

or increase the likelihood a lynx would step entirely through the snare loop); 3) snares (all

traps) securely staked/anchored (no trap drags allowed) to reduce risk of not locating a

captured animal (affecting mortality or injury risk) if, for example, snowfall covered signs

of where the animal moved to before getting “hung up” in the forest; and 4) restriction on

whether or which visual and olfactory attractants could be used at trap sets (all trap types)

to reduce risk of capture.

       13.    Due to other confounding uncertainties (e.g., variability in species-specific

or overall trapper effort, variability in use of various trap types or methods, changes to lynx

population size, changes in trapper awareness and vigilance), it is difficult to assess true

cause-effect relationships with trapping regulations and accidental lynx take. Nevertheless,

the data set forth in Paragraph 8 above suggests that previous changes were successful at
        CASE 0:20-cv-02554-ECT-JFD Doc. 81 Filed 07/01/22 Page 6 of 12




reducing both capture and mortality risk for lynx in most trap types. The primary exception

is that apparent mortality rate in snares remained unchanged, even though capture rate in

snares declined. This is the primary reason why the proposed Consent Decree focuses on

reduction in mortality risk for lynx captured in snares.

       14.      Each of the additional proposed regulatory changes to snare regulations in

the consent decree are known or believed to reduce mortality risk (see Exhibit 2 for

additional information), as follows:

             a. Paragraph 6a, proposed Consent Decree: With some exceptions, require a

                loop stop to mechanically prevent the loop from being able to close to a

                diameter <3.25”. This will reduce mortality risk caused by constricting blood

                vessels in the neck.

             b. Paragraph 6a, proposed Consent Decree: With some exceptions, prohibit

                the use of 2-piece (hinged) snare locks (e.g., cam locks). These locks were

                designed in part to increase the lethality of a snare.

             c. Paragraph 6a, proposed Consent Decree: With some exceptions, prohibit

                the attachment of any type of compression spring to the snare or snare lock.

                Compression springs are designed to increase lethality by applying a closing

                force (once compressed by animal) that continues to tighten/constrict even

                when the animal stops pulling.

             d. Paragraph 6a, proposed Consent Decree: With some exceptions, prohibit

                the use of any lock that has a width < ½”. As with cable diameter, cables
           CASE 0:20-cv-02554-ECT-JFD Doc. 81 Filed 07/01/22 Page 7 of 12




               and locks with wider/more surface area disperse a given force onto a larger

               area and reduce constriction pressure per unit area.

            e. Paragraph 6b, proposed Consent Decree: With some exceptions, snares

               must be placed where they cannot reach entanglement. This reduces the risk

               that a lynx can become partially or wholly suspended or wrap the snare tight

               around a solid object, thereby further reducing the risk of constricting blood

               vessels in the neck.

            f. Paragraph 6c, proposed Consent Decree: With some exceptions, snares

               may not exceed 7’ in length. Long snares increase the risk of lunging-related

               injury and any associated mortality risk.

            g. Paragraph 6d, proposed Consent Decree: With some exceptions, snares

               must have a swivel installed. Swivels can reduce injury (and hence mortality

               risk) by allowing the cable to freely turn if an animal twists or rolls.

      15.      In response to these proposals, Defendant Intervenors have offered several

concerns or objections. My professional thoughts on those concerns or objections are as

follows:

            a. A loop stop will provide harm to a lynx 1 – I acknowledge that there is

               potential for a loose-fitting cable restraint with a “stop” on the cable to cause

               some abrasion on the animal. But I am not aware of any data to suggest that



1
 ECF No. 76, Defendant Intervenors Minnesota Trappers Association, National Trappers
Association, and Fur Takers of America, Inc.’s Response and Objection to Proposed
Consent Decree and Proposed Order (the “Objection”) at 5; ECF No. 78, Declaration of
Bert Highland on Behalf of the Minnesota Trappers Association (“Highland Decl.”) ¶ 10.
          CASE 0:20-cv-02554-ECT-JFD Doc. 81 Filed 07/01/22 Page 8 of 12




                harm is common or severe. Based on a 2016 national trapping regulations

                survey by AFWA, approximately 1/3 of states requires some type of a

                minimum loop stop on snares, albeit with varying diameters and for varying

                reasons. Attached as Exhibit 3 is a true and correct copy of the survey, which

                is part of a document entitled “2016 Summary of Furbearer Trapping

                Regulations in the United States.” The relevant data is on pp. 100. In

                addition, cable restraints with loop stops are often advertised by snare

                manufacturers for the humane live restraint of coyotes. Finally, DNR has

                been using “cable restraints” with a loop stop to live capture wolves for

                research the past seven years, and we have not observed any noteworthy

                injuries from a loop stop.

            b. The proposed restrictions limit the number of snare locks and will “require

                trappers to essentially use only one snare lock” 2 – I agree that the snare lock

                restrictions will reduce the number of lock choices available to trappers and

                require some to alter or replace snares they already possess. However, based

                on my assessment, there will still be at least 6 commonly used locks available

                to trappers (e.g., multiple styles of “washer lock,” Berkshire Sure Lock, BMI

                Slide-Free Lock, Gregerson Lock, Thompson Lock, etc.).

            c. Larger locks will be seen/avoided by animals, and snares with larger locks

                won’t close as fast 3 – I am not aware of scientific data on this subject but



2
    Objection at 5; Highland Decl. ¶ 10.
3
    Highland Decl. ¶ 10.
          CASE 0:20-cv-02554-ECT-JFD Doc. 81 Filed 07/01/22 Page 9 of 12




                note that locks that are ≥ ½” were 5 of the top 7 locks listed as being

                commonly used by trappers in a 2015 national trap use survey by AFWA,

                suggesting that they are effective locks even if larger or more visual.

                Attached as Exhibit 4 is a true and correct copy of the survey, which appears

                in a document entitled “Trap Use, Furbearers Trapped, and Trapper

                Characteristics in the United States.” The relevant survey data is on pp. 101.

                In my experience, larger locks also sometimes close faster due to their

                increased weight. Finally, I note that the lock we use to live-capture wolves

                for research is over 1 inch in diameter, and though we have not compared

                effectiveness to other locks, we have live-captured approximately 50 wolves

                (a very wary animal) in those devices, and as part of the TWGs research on

                trapping BMPs, some locks larger than ½” have met BMP capture efficiency

                standards for foxes and coyotes (and no larger locks have yet failed efficiency

                standards).

            d. The prohibition on locks with moving parts or compression springs will allow

                more coyotes to chew out of snares and run off with the snare attached 4 – I

                acknowledge and agree that the potential for this to occur is higher with

                animals, primarily wolves or coyotes, that are alive in a cable restraint. But

                I believe the concern is minimal for the following reasons.




4
    Objection at 5-6; Highland Decl. ¶ 10.
          CASE 0:20-cv-02554-ECT-JFD Doc. 81 Filed 07/01/22 Page 10 of 12




                    i. First, snares are already required to have breakaway devices designed

                       to increase the likelihood that wolves will break completely free of a

                       snare (or cable restraint) if accidentally captured.

                   ii. Second, coyote numbers and trapping are comparatively low in the

                       Lynx Management Zone.

                  iii. Third, both coyote researchers and avocational trappers live-capturing

                       coyotes for the “live market” commonly use cable restraints for

                       capture, suggesting the frequency of cable chew-outs is low.

                  iv. Fourth, trappers not already using it can alter the type of cable they

                       use (for example, from 7X7 to 1X19 design) which is more resistant

                       to cable chewing.

                   v. Finally, should a coyote chew through a cable restraint and run off

                       with the loop still attached to its neck, my professional opinion at this

                       time is that the loop stop will prevent concerns of constriction injury

                       or death to the animal, acting much like a fitted radio-collar on an

                       animal or a necklace on a human.

            e. Prohibiting the anchoring of snares to larger trees or fence posts, where they

                can reach rooted vegetation > ½” when fully extended, and limiting their

                length to no more than 7’, will make snaring “ineffective” 5 - I agree that

                these proposed changes will reduce the number of locations available to

                trappers for setting snares, or at least increase the effort in setting them in


5
    Objection at 6; Highland Decl. ¶¶ 11-12.
CASE 0:20-cv-02554-ECT-JFD Doc. 81 Filed 07/01/22 Page 11 of 12




     some locations. However, I disagree with the extent of the impact for the

     following reasons.

        i. First, similar regulations are in place in other states (e.g., WI, PA,

           MO) for other reasons, and I am not aware of any evidence that these

           cable restraints are ineffective or wholly ineffective.

        ii. Second, we utilize similar methods for live-restraining wolves,

           including in northeastern Minnesota, and though driving stakes in

           frozen ground can indeed be difficult at times, we regularly do so. I

           have also, as part of my personal trapping, commonly anchored snares

           in ice (depending on ice depth) using cable stakes in drilled holes or

           using various ice anchors.

       iii. Third, the proposed regulations do not prevent setting traps near

           brush, just that such brush (if > ½”) cannot be rooted. It can be cut

           and pushed back into the ground (if unfrozen, or by first pounding a

           small hole if frozen), or simply pushed into the snow when present.

           Again, we commonly do this when live-snaring wolves.

       iv. Fourth, trappers in many parts of the country commonly snare

           coyotes, foxes, and bobcats in comparatively open or grassy

           landscapes. Though such locations are less common in northern

           Minnesota, they do exist in various forms (marshes, meadows, bogs,

           recent clearcuts, beaver dams or pond edges, lake edges, etc.)
      CASE 0:20-cv-02554-ECT-JFD Doc. 81 Filed 07/01/22 Page 12 of 12




                     throughout northeastern Minnesota and can be utilized by trappers as

                     we often do when live-snaring wolves.

                  v. Finally, winter snaring in northern Minnesota (and other states) often

                     involves the use of a “bait station” to attract animals to a location. As

                     such, trappers can, and commonly do, “control” the location where

                     cable restraints will be set. They can thus select sites that will

                     minimize the need to remove excess brush around a set/bait location.


      I declare under penalty of perjury that the foregoing is true and correct.

Dated: 06/30/22




                                            JOHN D. ERB
